                   Case 23-11131-TMH             Doc 810       Filed 12/04/23         Page 1 of 2




                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                                           )
    In re:                                                 )     Chapter 11
                                                           )
    AMYRIS, INC., et al.,1                                 )     Case No. 23-11131 (TMH)
                                                           )
                                Debtors.                   )     (Jointly Administered)
                                                           )

                        CERTIFICATION OF COUNSEL
             REGARDING ORDER EXTENDING CERTAIN DATES AND
      DEADLINES AS TO THE BIOSSANCE, MENOLABS, PIPETTE, AND 4U SALES

             The undersigned hereby certifies that:

        1.      On September 18, 2023, the above-captioned debtors and debtors in possession
(collectively, the “Debtors”) filed a motion [Docket No. 316] with the United States Bankruptcy
Court for the District of Delaware (the “Bankruptcy Court”) seeking, among other relief, entry of
(a) an order approving Bid Procedures for the sale (the “Sale”) of certain of the Debtors’ assets
(collectively, the “Brand Assets”) associated with their Operating Consumer Brands, and (b)
granting certain related relief.

       2.     On October 16, 2023, the Bankruptcy Court entered the Order (A) Approving Bid
Procedures for the Sale of the Debtors’ Brand Assets; (B) Approving Certain Bid Protections In
Connection with the Debtors' Entry Into Any Potential Stalking Horse Agreements; (C) Scheduling
the Auction and Sale Hearing; (D) Approving the Form and Manner of Notice Thereof; and (E)
Granting Related Relief [Docket No. 553] (the “Bid Procedures Order”).2

         3.     In accordance with the terms of the Bid Procedures Order, (a) the deadline to file a
Notice of Successful Bidder with (i) a copy of the Purchase Agreement; (ii) a copy of the proposed
Sale Order; and (iii) identification of the Transferred Contracts for such Sale Transaction
(collectively, the “Notice Attachments”) was December 1, 2023; and (b) the deadline to file Sale
Objections and Adequate Assurance Objections was December 5, 2023. See Bid Procedures Order
at ¶ 13.

       4.     On December 1, 2023, the Debtors filed the Notice of Successful Bidders and
Auction Results for Sale of Certain Brand Assets [Docket No. 803], which contained information


1
      A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s principal
      place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
      Emeryville, CA 94608.
2
      Capitalized terms not defined herein shall have the meanings provided to them in the Bid Procedures Order or the
      applicable Bid Procedures.



SF 4858-2565-8517.1 03703.004
                  Case 23-11131-TMH     Doc 810     Filed 12/04/23     Page 2 of 2




regarding the Successful Bidders for each of the Biossance, MenoLabs, Pipette, and 4U Brand
Assets.

       5.     The Debtors were not able to file the Notice of Successful Bidder with the Notice
Attachments prior to December 1, 2023 because the Auction did not conclude until such date.
Accordingly, enclosed herewith is a proposed order (the “Order”) extending the deadline to (i) file
the Notice of Successful Bidder with the Notice Attachments, and (ii) the deadline to file Sale
Objections and Adequate Assurance Objections (the “Notice Deadlines”). The Secured Parties,
the Committee, and the Ad Hoc Noteholder Group do not oppose entry of the Order.

       6.     Accordingly, the Debtors respectfully request the Court enter the Order extending
the Notice Deadlines at its convenience.



 Dated: December 4, 2023                         PACHULSKI STANG ZIEHL & JONES LLP

                                                 /s/ Steven W. Golden
                                                 Richard M. Pachulski (admitted pro hac vice)
                                                 Debra I. Grassgreen (admitted pro hac vice)
                                                 James E. O’Neill (DE Bar No. 4042)
                                                 Jason H. Rosell (admitted pro hac vice)
                                                 Steven W. Golden (DE Bar No. 6807)
                                                 919 N. Market Street, 17th Floor
                                                 P.O. Box 8705
                                                 Wilmington, DE 19899-8705 (Courier 19801)
                                                 Telephone: (302) 652-4100
                                                 Facsimile: (302) 652-4400
                                                 Email: rpachulski@pszjlaw.com
                                                          dgrassgreen@pszjlaw.com
                                                          joneill@pszjlaw.com
                                                          jrosell@pszjlaw.com
                                                          sgolden@pszjlaw.com

                                                 Counsel to the Debtors and Debtors-in-Possession




SF 4858-2565-8517.1 03703.004
